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Of Attorneys for Defendant




                               UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON
                                     EUGENE DISTRICT




 JOHN DOE;                                            Case No. 6:17-CV-01103-MK

                  Plaintiff,
                                                      DEFENDANT’S UNOPPOSED
         v.                                           MOTION FOR EXTENSION OF
                                                      TIME TO SUBMIT JOINT STATUS
 UNIVERSITY OF OREGON;                                REPORT

                  Defendant.



                                CERTIFICATE OF CONFERRAL

        Counsel for Defendant University of Oregon, certifies that, in accordance with LR 7-1(a),

she has conferred with counsel for Plaintiff, and Plaintiff does not oppose this motion.

                                            MOTION

        Pursuant to LR 16-3, Defendant moves the Court for an order extending the time for the

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   SUBMIT JOINT STATUS REPORT

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parties to submit a joint status report [Dkt. No. 87] for an additional seven days, from December

2, 2020 to December 9, 2020.

        Due to the complexities and delays caused by the Thanksgiving holiday and COVID-19

restrictions, including the necessity of working from home, counsel need additional time to prepare

the joint status report. This matter has not yet been scheduled for a final pre-arbitration conference

or arbitration hearing. This request for additional time is made in good faith and not for the purpose

of delay.

        DATED: December 2, 2020.               HERSHNER HUNTER, LLP



                                              By /s/ Lillian Marshall-Bass
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